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       MARKETS, INC.
   9

  10                        UNITED STATES DISTRICT COURT
  11                      CENTRAL DISTRICT OF CALIFORNIA
  12 SARA SAFARI, PEYMON                         Case No. 8:22-cv-01562-JWH-KES
     KHAGHANI on behalf of themselves
  13 and all others similarly situated,          DEFENDANTS’ ANSWER TO
                                                 PLAINTIFFS’ SECOND
  14              Plaintiffs,                    AMENDED COMPLAINT
  15        v.                                   DEMAND FOR JURY TRIAL
  16 WHOLE FOODS MARKET
       SERVICES, INC., WHOLE FOODS               The Honorable John W. Holcomb
  17 MARKET CALIFORNIA, INC.; and
       MRS. GOOCH’S NATURAL FOOD
  18 MARKETS, INC.

  19              Defendants.
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   1        Defendants Whole Foods Market Services, Inc. (“WFM Services”), Whole
   2 Foods Market California, Inc. (“WFM California”), and Mrs. Gooch’s Natural Food

   3 Markets, Inc. (“Mrs. Gooch’s” and collectively “Defendants”) by and through its

   4 attorneys of record, answer plaintiffs Sara Safari and Peymon Khaghani’s

   5 (collectively “Plaintiffs”) Second Amended Class Action Complaint (“SAC”) as

   6 follows:

   7                             RESPONSE TO HEADINGS
   8        The SAC contains headings, some of which characterize certain actions or
   9 events. Because they are not set forth in numbered paragraphs, the headings are not

  10 properly pleaded facts requiring a response. To the extent any headings contain

  11 factual allegations requiring a response, Defendants deny the allegations set forth in

  12 those headings.

  13                   RESPONSE TO INDIVIDUAL PARAGRAPHS
  14        The unnumbered introductory paragraph, found at page 2, line 1 to line 4,
  15 constitutes Plaintiffs’ description of the action to which no response is required. To

  16 the extent Defendants are required to respond to this paragraph, they only admit that

  17 Plaintiffs filed the SAC against Defendants.

  18        1.     Defendants admit the statement “No Antibiotics, Ever” is used in
  19 advertising meat products sold at Whole Foods Market. Defendants admit that the

  20 statement “if it doesn’t meet our standards, we won’t sell it” is used on the Whole

  21 Foods Market website as part of statements discussing Whole Foods Market’s core

  22 values and quality standards. Defendants lack knowledge or information sufficient

  23 to form a belief as to the truth of the remaining allegations in Paragraph 1, and on

  24 that basis deny those allegations.

  25        2.     Defendants admit that the statement “No Antibiotics, Ever” is used in
  26 advertising meat products sold at Whole Foods Market. Defendants deny the

  27 remaining allegations in Paragraph 2.

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   1        3.      Defendants lack knowledge or information sufficient to form a belief as
   2 to the truth of the allegations in Paragraph 3, and on that basis deny those

   3 allegations.

   4        4.      Defendants lack knowledge or information sufficient to form a belief as
   5 to the truth of the allegations in Paragraph 4, and on that basis denies those

   6 allegations.

   7        5.      Defendants admit that the statement “No Antibiotics, Ever” is used in
   8 some of the in-store advertising and on the Whole Foods Market website in

   9 connection with meat products sold at Whole Foods Market. Defendants admit that

  10 the following statements, among others, appear on the Meat Department Quality

  11 Standards page of the Whole Foods Market website: (i) “Transparency and

  12 traceability to farm and ranch,” (ii) “[n]o antibiotics, ever,” (iii) “100+ animal

  13 welfare standards for fresh beef, pork, lamb, chicken and turkey,” (iv) “[i]f an

  14 animal needs antibiotic treatment, it is separated from those bought by our Meat

  15 Department,” and (v) “[a] traceable audit system is required that tracks animals from

  16 birth to slaughter.” Defendants further admit that the following statement appears

  17 under the heading “Our Baseline Standards” on the Meat Department Quality

  18 Standards page of the Whole Foods Market website: “No antibiotics, ever. If an

  19 animal needs antibiotic treatment, it is separated from those bought by our Meat

  20 department.” Defendants admit that a post entitled “Our Meat: No Antibiotics,

  21 Ever” is accessible through the archive on the Whole Foods Market website and the

  22 post includes the statement “[w]e have worked with our suppliers to make sure that

  23 the people who produce our meat have raised their animals without the use of

  24 antibiotics, growth hormones* or animal byproducts in the feed. This includes not

  25 only the fresh and frozen meat in our meat departments but also all meat used in our

  26 prepared foods cases and all meat used in our own store brand products containing

  27 meat.”

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   1        6.      Defendants lack knowledge or information sufficient to form a belief as
   2 to the truth of the allegations in Paragraph 6, and on that basis deny those

   3 allegations.

   4        7.      Paragraph 7 contains conclusions of law that Defendants need not
   5 answer. Should the Court require Defendants to answer, Defendants deny the

   6 allegations of Paragraph 7 for lack of information sufficient to form a belief.

   7        8.      Defendants lack knowledge or information sufficient to form a belief as
   8 to the truth of the allegations in Paragraph 8, and on that basis deny those

   9 allegations.

  10        9.      Defendants lack knowledge or information sufficient to form a belief as
  11 to the truth of the allegations in Paragraph 9, and on that basis deny those

  12 allegations.

  13        10.     Defendants lack knowledge or information sufficient to form a belief as
  14 to the truth of the allegations in Paragraph 10, and on that basis deny those

  15 allegations.

  16        11.     Defendants admit that defendant Mrs. Gooch’s owns and operates the
  17 Whole Foods Market stores located in Tustin and Woodland Hills, California.

  18 Defendants lack knowledge or information sufficient to form a belief as to the truth

  19 of the remaining allegations in Paragraph 11, and on that basis deny those

  20 allegations.

  21        12.     Defendants admit that they advertise meat products available for
  22 purchase at Whole Foods Market stores through in-store advertising and on the

  23 Whole Foods Market website, located at wholefoodsmarket.com. Defendants

  24 further admit that this advertising includes the use of the slogans “No Antibiotics,

  25 Ever” and “No added growth hormones.” Defendants admit that some of the

  26 products sold at Whole Foods Market stores, including certain meat products, are

  27 also advertised by and available for purchase from Amazon through its online

  28 marketplace, located at amazon.com. Defendants lack knowledge or information
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   1 sufficient to form a belief as to the truth of the remaining allegations in Paragraph

   2 12, and on that basis deny those allegations.

   3        13.     Defendants admit that the meat departments inside Whole Foods
   4 Market stores typically include a butcher counter and open refrigerators from which

   5 customers can select meat products, including where and when available ground

   6 beef and a variety of roast and steak products. Defendants lack knowledge or

   7 information sufficient to form a belief as to the truth of the remaining allegations in

   8 Paragraph 13, and on that basis deny those allegations.

   9        14.     Defendants lack knowledge or information sufficient to form a belief as
  10 to the truth of the allegations in Paragraph 14, and on that basis deny those

  11 allegations.

  12        15.     Paragraph 15 contains conclusions of law that Defendants need not
  13 answer. Should the Court require Defendants to answer, Defendants deny the

  14 allegations of Paragraph 15.

  15        16.     Defendants lack knowledge or information sufficient to form a belief as
  16 to the truth of the allegations in Paragraph 16.

  17        17.     Defendants lack knowledge or information sufficient to form a belief as
  18 to the truth of the allegations in Paragraph 17, and on that basis deny those

  19 allegations.

  20        18.     Defendants lack knowledge or information sufficient to form a belief as
  21 to the truth of the allegations in Paragraph 18, and on that basis deny those

  22 allegations.

  23        19.     Defendants admit that defendant Mrs. Gooch’s owns and operates the
  24 Whole Foods Market store located in Tustin, California. Defendants further admit

  25 that defendant WFM California owns and operates the Whole Foods Market stores

  26 located in San Francisco and Cupertino, California. Defendants admit that they

  27 advertise meat products available for purchase at Whole Foods Market stores

  28 through in-store advertising that includes the slogan “no antibiotics ever.”
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   1 Defendants lack knowledge or information sufficient to form a belief as to the truth

   2 of the remaining allegations in Paragraph 19, and on that basis deny those

   3 allegations.

   4        20.     Defendants admit that the meat departments inside Whole Foods
   5 Market stores typically include a butcher counter and open refrigerators from which

   6 customers can select meat products, including where and when available ground

   7 beef, a variety of roast and steak products and pre-packaged meat products.

   8 Defendants further admit that the Whole Foods Market stores typically include a

   9 prepared foods departments where customers can select prepared food products,

  10 including when and where available a variety of meat products. Defendants lack

  11 knowledge or information sufficient to form a belief as to the truth of the remaining

  12 allegations in Paragraph 20, and on that basis deny those allegations.

  13        21.     Defendants admits that they advertise meat products available for
  14 purchase at Whole Foods Market stores through in-store advertising and on the

  15 Whole Foods Market website, located at wholefoodsmarket.com. Defendants

  16 further admit that this advertising includes the use of the slogans “no antibiotics

  17 ever” and “no added growth hormones.” Defendants admit that some of the

  18 products sold at Whole Foods Market stores, including certain meat products, are

  19 also advertised by and available for purchase from Amazon through its online

  20 marketplace, located at amazon.com. Defendants lack knowledge or information

  21 sufficient to form a belief as to the truth of the remaining allegations in Paragraph

  22 21, and on that basis deny those allegations.

  23        22.     Defendants lack knowledge or information sufficient to form a belief as
  24 to the truth of the allegations in Paragraph 22, and on that basis deny those

  25 allegations.

  26        23.     Paragraph 23 contains conclusions of law that Defendants need not
  27 answer. Should the Court require Defendants to answer, Defendants deny the

  28 allegations of Paragraph 23.
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   1        24.     Defendants admit the defendant WFM Services is a Delaware
   2 corporation with its principal offices in Austin, Texas. Defendants admit that WFM

   3 Services is responsible for the content and design of the Whole Foods Market

   4 website, located at wholefoodsmarket.com. Defendants admit that the Whole Foods

   5 Market website includes, among other things, a store locator, local store pages,

   6 which may show, among other things, promotions or sales specific to that Whole

   7 Foods Market store, product information and product pages. Defendants further

   8 admit that consumers, including those in California, can order certain prepared food

   9 items and holiday meals through the Whole Foods Market website for pickup at

  10 their Whole Foods Market store. Defendants also admit that the current Whole

  11 Foods Market website includes a link entitled “Grocery Pickup & Delivery” that

  12 redirects the customer to the online marketplace owned and operated by Amazon at

  13 amazon.com. Defendants lack knowledge or information sufficient to form a belief

  14 as to the truth of the remaining allegations in Paragraph 24, and on that basis deny

  15 those allegations.

  16        25.     Defendants admit the allegations of Paragraph 25.
  17        26.     Defendants admit that defendant WFM California owns and operates
  18 the Whole Foods Market stores located in the Northern California Region and that

  19 those stores sell a variety of meat products. Defendants lack knowledge or

  20 information sufficient to form a belief as to the truth of the remaining allegations in

  21 Paragraph 26, and on that basis deny those allegations.

  22        27.     Defendants admit the allegations of Paragraph 27.
  23        28.     Defendants admit that defendant Mrs. Gooch’s owns and operates the
  24 Whole Foods Market stores located in the Southern Pacific Region, which includes

  25 the retail stores located in Orange County, and that those stores sell a variety of meat

  26 products. Defendants lack knowledge or information sufficient to form a belief as to

  27 the truth of the remaining allegations in Paragraph 28, and on that basis deny those

  28 allegations.
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   1        29.     Paragraph 29 contains conclusions of law that Defendants need not
   2 answer. Should the Court require Defendants to answer, Defendants deny the

   3 allegations of Paragraph 29 for lack of information sufficient to form a belief.

   4        30.     Defendants admit that the Court has personal jurisdiction over them for
   5 purposes of this action and that venue is proper in this District. Defendants lack

   6 knowledge or information sufficient to form a belief as to the truth of the remaining

   7 allegations in Paragraph 30 and on that basis deny those allegations.

   8        31.     Defendants lack knowledge or information sufficient to form a belief as
   9 to the truth of the allegations in Paragraph 31 and on that basis deny those

  10 allegations.

  11        32.     Defendants admits that the slogan “no antibiotics ever” means to them
  12 that the animal used in the meat product was not given antibiotic treatment and if an

  13 animal needs antibiotic treatment, then that animal is separated from those bought

  14 by Whole Foods Market’s meat department. Defendants lack knowledge or

  15 information sufficient to form a belief as to the truth of the remaining allegations in

  16 Paragraph 32 and on that basis deny those allegations.

  17        33.     Defendants lack knowledge or information sufficient to form a belief as
  18 to the truth of the allegations in Paragraph 33 and on that basis deny those

  19 allegations.

  20        34.     Defendants lack knowledge or information sufficient to form a belief as
  21 to the truth of the allegations in Paragraph 34 and on that basis deny those

  22 allegations.

  23        35.     Defendants lack knowledge or information sufficient to form a belief as
  24 to the truth of the allegations in Paragraph 35 and on that basis deny those

  25 allegations.

  26        36.     Defendants lack knowledge or information sufficient to form a belief as
  27 to the truth of the allegations in Paragraph 36 and on that basis deny those

  28 allegations.
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   1        37.     Defendants lack knowledge or information sufficient to form a belief as
   2 to the truth of the allegations in Paragraph 37 and on that basis deny those

   3 allegations.

   4        38.     Defendants admit that the statement “no antibiotics ever” has been used
   5 to advertise meat products sold at Whole Foods Market for more than twelve years.

   6 Defendants deny the remaining allegations in Paragraph 38.

   7        39.     Defendants admit that the statements “no antibiotics ever” and “no
   8 added growth hormones” are used to advertise the meat products sold at Whole

   9 Foods Market stores. Defendants further admit that a post entitled “Our Meat: No

  10 Antibiotics, Ever” is accessible through the archive on Whole Foods Market website

  11 and the post includes the statement quoted in Paragraph 39 at lines 5-10.

  12 Defendants lack knowledge or information sufficient to form a belief as to the truth

  13 of the remaining allegations in Paragraph 39 and on that basis deny those

  14 allegations.

  15        40.     Defendants admit that the Whole Foods Market website discusses
  16 Whole Foods Market’s quality standards, including its standards relating to meat

  17 products. Defendants further admit that the Core Values webpage on Whole Foods

  18 Market’s website includes the language quoted in Paragraph 40 at lines 13-20

  19 without the emphasis added by Plaintiffs. Defendants lack knowledge or

  20 information sufficient to form a belief as to the truth of the remaining allegations in

  21 Paragraph 40 and on that basis deny those allegations.

  22        41.     Defendants admit that Whole Foods Market has set quality standards
  23 with which its meat suppliers must comply and that the Meat Department Quality

  24 Standards webpage on the Whole Foods Market website lists the baseline standards

  25 with which meat suppliers must comply. Defendants further admit that the Meat

  26 Department Quality Standards webpage on Whole Foods Market’s website includes

  27 the language quoted in Paragraph 41 at lines 6-23 without the emphasis added by

  28 Plaintiffs. Defendants lack knowledge or information sufficient to form a belief as
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   1 to the truth of the remaining allegations in Paragraph 41 and on that basis deny those

   2 allegations.

   3        42.     Defendants admit that some of the in-store signage used in the meat
   4 departments in Whole Foods Market stores describe some of the attributes of Whole

   5 Foods Market’s quality standards for meat products. With respect to the photograph

   6 inserted in paragraph 42, images are not properly pleaded allegations requiring a

   7 response. To the extent any image is deemed an allegation requiring a response,

   8 Defendants state that the photo speaks for itself and respectfully refer the Court to

   9 the photo for a true and accurate statement of its content. Defendants lack

  10 knowledge or information sufficient to form a belief as to the truth of the remaining

  11 allegations in Paragraph 42 and on that basis deny those allegations.

  12        43.     Defendants admit that defendants WFM California and Mrs. Gooch’s
  13 have sold and continue to sell a variety of meat products at their Whole Foods

  14 Market stores in California. Defendants further admit that consumers, including

  15 those in California, can order certain prepared food items and holiday meals through

  16 the Whole Foods Market website for pickup at their Whole Foods Market store.

  17 Defendants lack knowledge or information sufficient to form a belief as to the truth

  18 of the remaining allegations in Paragraph 43 and on that basis deny those

  19 allegations.

  20        44.     Defendants admit that Whole Foods Market advertises various
  21 products, including meat products, available at Whole Foods Market stores around

  22 the country. Defendants further admit that Whole Foods Market advertises through

  23 several different marketing mediums, including in-store signage, television and print

  24 advertising, email and web-based marketing, and social media. Defendants lack

  25 knowledge or information sufficient to form a belief as to the truth of the remaining

  26 allegations in Paragraph 44 and on that basis deny those allegations.

  27        45.     Defendants admit that the statement “no antibiotics ever” has been used
  28 to advertise meat products sold at Whole Foods Market for more than twelve years
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   1 and is listed as a baseline standard for meat products on the Whole Foods Market

   2 website. Defendants further admit that the meat products available at Whole Foods

   3 Market stores have been GAP certified since roughly 2011. Defendants further

   4 admit that Whole Foods Market has prohibits some form of antibiotic use in

   5 connection with its meat products since roughly 1981. Defendants lack knowledge

   6 or information sufficient to form a belief as to the truth of the remaining allegations

   7 in Paragraph 45 and on that basis deny those allegations.

   8        46.     Defendants admit that the statement “no antibiotics ever” is used in
   9 some of the in-store advertising and on the Whole Foods Market website in

  10 connection with meat products sold at Whole Foods Market. With respect to the

  11 photographs inserted in paragraph 46, images are not properly pleaded allegations

  12 requiring a response. To the extent any image is deemed an allegation requiring a

  13 response, Defendants state that the photo speaks for itself and respectfully refer the

  14 Court to the photo for a true and accurate statement of its content. Defendants lack

  15 knowledge or information sufficient to form a belief as to the truth of the remaining

  16 allegations in Paragraph 46 and on that basis deny those allegations.

  17        47.     Defendants admit that some of the products sold at Whole Foods
  18 Market stores, including certain meat products, are also advertised by and available

  19 for purchase from Amazon through its online marketplace, located at amazon.com.

  20 Defendants deny that they own or operate Amazon’s online marketplace. With

  21 respect to the images inserted in paragraph 47, images are not properly pleaded

  22 allegations requiring a response. To the extent any image is deemed an allegation

  23 requiring a response, Defendants state that the photo speaks for itself and

  24 respectfully refer the Court to the photo for a true and accurate statement of its

  25 content. Defendants lack knowledge or information sufficient to form a belief as to

  26 the truth of the remaining allegations in Paragraph 47 and on that basis deny those

  27 allegations.

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   1        48.    Defendants admit that the statement “no antibiotics ever” has been used
   2 to advertise meat products sold at Whole Foods Market and is listed as a baseline

   3 standard for meat products on the Whole Foods Market website. Defendants further

   4 admit that Whole Foods Market’s quality standards for meat products require meat

   5 suppliers separate animals treated with antibiotics and prohibit the sale of meat

   6 products from those animals to Whole Foods Market’s meat department. Defendant

   7 denies the remaining allegations of Paragraph 48 for lack of information sufficient

   8 to form a belief.

   9        49.    Defendants admit that posts entitled “Our Meat: No Antibiotics, Ever”
  10 and “What Makes Our Meat Different” are accessible through the archive on Whole

  11 Foods Market website. Defendants further admit that the post “Whole Foods

  12 Market: No Antibiotics in Meat Department” is accessible through the news section

  13 of the Whole Foods Market website. Defendants also admit that all three of these

  14 posts reference the standard of “no antibiotics ever” and “no added hormones” in

  15 connection with Whole Foods Market’s meat products. With respect to the image

  16 inserted in paragraph 49, images are not properly pleaded allegations requiring a

  17 response. To the extent any image is deemed an allegation requiring a response,

  18 Defendants state that the photo speaks for itself and respectfully refer the Court to

  19 the photo for a true and accurate statement of its content. Defendants lack

  20 knowledge or information sufficient to form a belief as to the truth of the remaining

  21 allegations in Paragraph 49 and on that basis deny those allegations.

  22        50.    Defendants admit that some of Whole Foods Market’s television ads
  23 and online videos may have referenced “no antibiotics ever” and/or “no added

  24 hormones” in connection with Whole Foods Market’s meat products. With respect

  25 to the photograph inserted in paragraph 50, images are not properly pleaded

  26 allegations requiring a response. To the extent any image is deemed an allegation

  27 requiring a response, Defendants state that the photo speaks for itself and

  28 respectfully refer the Court to the photo for a true and accurate statement of its
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   1 content. Defendants lack knowledge or information sufficient to form a belief as to

   2 the truth of the remaining allegations in Paragraph 50 and on that basis deny those

   3 allegations.

   4        51.     Defendants admit that Whole Foods Market’s quality standards for
   5 meat products require meat suppliers separate animals treated with antibiotics and

   6 prohibit the sale of meat products from those animals to Whole Foods Market’s

   7 meat department. Defendant denies the remaining allegations of Paragraph 51.

   8        52.     Defendants lack knowledge or information sufficient to form a belief as
   9 to the truth of the allegations in Paragraph 52 and on that basis deny those

  10 allegations.

  11        53.     Defendants admit that the statement “animal welfare certified” is used
  12 in some of Whole Foods Market’s advertising, including in-store signage and on the

  13 Whole Foods Market website, in connection with meat products sold at Whole

  14 Foods Market. Defendants admit that “GAP” is an acronym for Global Animal

  15 Partnership. Defendants further admit that the meat products available at Whole

  16 Foods Market stores have been certified under GAP’s animal welfare certification

  17 program since roughly 2011. Defendants lack knowledge or information sufficient

  18 to form a belief as to the truth of the remaining allegations in Paragraph 53 and on

  19 that basis deny those allegations.

  20        54.     Defendants deny the allegations of Paragraph 54.
  21        55.     Defendants admit that the statement “animal welfare certified” is used
  22 in some of Whole Foods Market’s advertising, including in-store signage and on the

  23 Whole Foods Market website, in connection with meat products sold at Whole

  24 Foods Market. Defendants further admit that the meat products available at Whole

  25 Foods Market stores have been certified under GAP’s animal welfare certification

  26 program since roughly 2011. Defendants lack knowledge or information sufficient

  27 to form a belief as to the truth of the remaining allegations in Paragraph 55 and on

  28 that basis deny those allegations.
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   1        56.     Defendants lack knowledge or information sufficient to form a belief as
   2 to the truth of the allegations in Paragraph 56 and on that basis deny those

   3 allegations.

   4        57.     Defendants lack knowledge or information sufficient to form a belief as
   5 to the truth of the remaining allegations in Paragraph 57 and on that basis deny those

   6 allegations.

   7        58.     Defendants deny the allegations of Paragraph 58.
   8        59.     Defendants lack knowledge or information sufficient to form a belief as
   9 to the truth of the allegations in Paragraph 59 and on that basis deny those

  10 allegations.

  11        60.     Defendants lack knowledge or information sufficient to form a belief as
  12 to the truth of the allegations in Paragraph 60 and on that basis deny those

  13 allegations.

  14        61.     Defendants lack knowledge or information sufficient to form a belief as
  15 to the truth of the allegations in Paragraph 61 and on that basis deny those

  16 allegations.

  17        62.     Defendants lack knowledge or information sufficient to form a belief as
  18 to the truth of the allegations in Paragraph 62 and on that basis deny those

  19 allegations.

  20        63.     Defendants lack knowledge or information sufficient to form a belief as
  21 to the truth of the allegations in Paragraph 63 and on that basis deny those

  22 allegations.

  23        64.     Defendants lack knowledge or information sufficient to form a belief as
  24 to the truth of the allegations in Paragraph 64 and on that basis deny those

  25 allegations.

  26        65.     Defendants lack knowledge or information sufficient to form a belief as
  27 to the truth of the allegations in Paragraph 65 and on that basis deny those

  28 allegations.
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   1        66.     Defendants lack knowledge or information sufficient to form a belief as
   2 to the truth of the allegations in Paragraph 66 and on that basis deny those

   3 allegations.

   4        67.     Defendants deny the allegations of Paragraph 67.
   5        68.     Defendants lack knowledge or information sufficient to form a belief as
   6 to the truth of the allegations in Paragraph 68 and on that basis deny those

   7 allegations.

   8        69.     Defendants lack knowledge or information sufficient to form a belief as
   9 to the truth of the allegations in Paragraph 69 and on that basis deny those

  10 allegations.

  11        70.     Defendants deny the allegations of Paragraph 70.
  12        71.     Paragraph 71 contains legal conclusions to which no response is
  13 required. To the extent a response is required, Defendants deny the allegations of

  14 Paragraph 71.

  15        72.     Paragraph 72 contains legal conclusions to which no response is
  16 required. To the extent a response is required, Defendants deny the allegations of

  17 Paragraph 72.

  18        73.     Paragraph 73 contains legal conclusions to which no response is
  19 required. To the extent a response is required, Defendants deny the allegations of

  20 Paragraph 73.

  21        74.     Defendants lack knowledge or information sufficient to form a belief as
  22 to the truth of the allegations in Paragraph 74 and on that basis deny those

  23 allegations.

  24        75.     Defendants lack knowledge or information sufficient to form a belief as
  25 to the truth of the allegations in Paragraph 75 and on that basis deny those

  26 allegations.

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   1        76.     Defendants lack knowledge or information sufficient to form a belief as
   2 to the truth of the allegations in Paragraph 76 and on that basis deny those

   3 allegations.

   4        77.     Paragraph 77 constitutes Plaintiffs’ description of the action, to which
   5 no response is required.

   6        78.     Paragraph 78 constitutes Plaintiffs’ description of the action, to which
   7 no response is required.

   8        79.     Defendants admit that the Whole Foods Market stores in California sell
   9 hundreds, if not thousands, of meat products every day. Defendants deny that they

  10 collect or retain purchaser contact information. Defendants lack knowledge or

  11 information sufficient to form a belief as to the truth of the remaining allegations in

  12 Paragraph 79 and on that basis deny those allegations.

  13        80.     Paragraph 80 contains legal conclusions to which no response is
  14 required. To the extent a response is required, Defendants lack knowledge or

  15 information sufficient to form a belief as to the truth of the allegations in Paragraph

  16 80 and on that basis deny those allegations.

  17        81.     Paragraph 81 contains legal conclusions to which no response is
  18 required. To the extent a response is required, Defendants lack knowledge or

  19 information sufficient to form a belief as to the truth of the allegations in Paragraph

  20 81 and on that basis deny those allegations.

  21        82.     Paragraph 82 contains legal conclusions to which no response is
  22 required. To the extent a response is required, Defendants lack knowledge or

  23 information sufficient to form a belief as to the truth of the allegations in Paragraph

  24 82 and on that basis deny those allegations.

  25        83.     Paragraph 83 contains legal conclusions to which no response is
  26 required. To the extent a response is required, Defendants lack knowledge or

  27 information sufficient to form a belief as to the truth of the allegations in Paragraph

  28 83 and on that basis deny those allegations.
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   1        84.     Paragraph 84 contains legal conclusions to which no response is
   2 required. To the extent a response is required, Defendants deny the allegations in

   3 Paragraph 84.

   4        85.     Paragraph 85 contains legal conclusions to which no response is
   5 required. To the extent a response is required, Defendants deny the allegations in

   6 Paragraph 85.

   7        86.     Defendants lack knowledge or information sufficient to form a belief as
   8 to the truth of the allegations in Paragraph 86 and on that basis deny those

   9 allegations.

  10        87.     Paragraph 87 contains legal conclusions to which no response is
  11 required. To the extent a response is required, Defendants deny the allegations in

  12 Paragraph 87.

  13                                     FIRST CLAIM
  14              Violation of the Consumer Legal Remedies Act (“CLRA”),
  15                              Cal. Civ. Code § 1750, et seq.
  16        88.     Defendants incorporate by this reference their response to the preceding
  17 paragraphs in response to each and every Claim set forth in the SAC.

  18        89.     Paragraph 89 contains legal conclusions to which no response is
  19 required. To the extent a response is required, Defendants lack knowledge or

  20 information sufficient to form a belief as to the truth of the allegations in Paragraph

  21 89 and on that basis deny those allegations.

  22        90.     Paragraph 90 contains legal conclusions to which no response is
  23 required. To the extent a response is required, Defendants lack knowledge or

  24 information sufficient to form a belief as to the truth of the allegations in Paragraph

  25 90 and on that basis deny those allegations.

  26        91.     Defendants deny the allegations in Paragraph 91.
  27        92.     Defendants deny the allegations in Paragraph 92.
  28        93.     Defendants deny the allegations in Paragraph 93.
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   1        94.     Defendants deny the allegations in Paragraph 94.
   2        95.     Defendants deny the allegations in Paragraph 95.
   3        96.     Defendants deny the allegations in Paragraph 96.
   4        97.     Defendants deny the allegations in Paragraph 97.
   5        98.     Defendants lack knowledge or information sufficient to form a belief as
   6 to the truth of the allegations in Paragraph 98 and on that basis deny those

   7 allegations.

   8        99.     Defendants lack knowledge or information sufficient to form a belief as
   9 to the truth of the allegations in Paragraph 99 and on that basis deny those

  10 allegations.

  11        100. Defendants deny that Plaintiffs are entitled to the injunctive relief
  12 described in Paragraph 100.

  13        101. Defendants lack knowledge or information sufficient to form a belief as
  14 to the truth of the allegations in Paragraph 101 and on that basis deny those

  15 allegations.

  16        102. Defendants lack knowledge or information sufficient to form a belief as
  17 to the truth of the allegations in Paragraph 102 and on that basis deny those

  18 allegations.

  19        103. Defendants deny that Plaintiffs are entitled to the damages, restitution,
  20 injunctive relief, and any other relief described in Paragraph 103.

  21        104. Paragraph 104 constitutes Plaintiffs’ description of the action, to which
  22 no response is required.

  23                                   SECOND CLAIM
  24                  Violation of the Unfair Competition Law (“UCL”),
  25                         Cal. Bus. & Prof. Code § 17200, et seq.
  26        105. Defendants incorporate by this reference their response to the preceding
  27 paragraphs in response to each and every Claim set forth in the SAC.

  28        106. Defendants deny the allegations in Paragraph 106.
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   1        107. Defendants deny the allegations in Paragraph 107.
   2        108. Defendants deny the allegations in Paragraph 108.
   3        109. Defendants deny the allegations in Paragraph 109.
   4        110. Defendants deny the allegations in Paragraph 110.
   5        111. Defendants deny the allegations in Paragraph 111.
   6        112. Defendants deny the allegations in Paragraph 112.
   7        113. Defendants deny the allegations in Paragraph 113.
   8        114. Defendants deny the allegations in Paragraph 114.
   9        115. Defendants deny the allegations in Paragraph 115.
  10        116. Defendants deny the allegations in Paragraph 116.
  11        117. Defendants lack knowledge or information sufficient to form a belief as
  12 to the truth of the allegations in Paragraph 117 and on that basis deny those

  13 allegations.

  14                                    THIRD CLAIM
  15                  Violation of the False Advertising Law (“UCL”),
  16                        Cal. Bus. & Prof. Code § 17500, et seq.
  17        118. Defendants incorporate by this reference their response to the preceding
  18 paragraphs in response to each and every Claim set forth in the SAC.

  19        119. Defendants deny the allegations in Paragraph 119.
  20        120. Defendants deny the allegations in Paragraph 120.
  21        121. Defendants deny the allegations in Paragraph 121.
  22        122. Defendants deny the allegations in Paragraph 122.
  23        123. Defendants deny the allegations in Paragraph 123.
  24                                  FOURTH CLAIM
  25        Violation of Cal. Comm. Code § 2313 (breach of express warranty)
  26        124. Defendants incorporate by this reference their response to the preceding
  27 paragraphs in response to each and every Claim set forth in the SAC.

  28        125. Defendants deny the allegations in Paragraph 125.
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   1        126. Defendants deny the allegations in Paragraph 126.
   2        127. Defendants deny the allegations in Paragraph 127.
   3        128. Defendants deny the allegations in Paragraph 128.
   4        129. Defendants deny the allegations in Paragraph 129.
   5        130. Defendants deny the allegations in Paragraph 130.
   6        131. Defendants deny the allegations in Paragraph 131.
   7                                   FIFTH CLAIM
   8                                  Unjust Enrichment
   9        132. Defendants incorporate by this reference their response to the preceding
  10 paragraphs in response to each and every Claim set forth in the SAC.

  11        133. Defendants deny the allegations in Paragraph 133.
  12        134. Defendants deny the allegations in Paragraph 134.
  13        135. Defendants deny the allegations in Paragraph 135.
  14                                   SIXTH CLAIM
  15                              Fraudulent Concealment
  16        136. Defendants incorporate by this reference their response to the preceding
  17 paragraphs in response to each and every Claim set forth in the SAC.

  18        137. Defendants deny the allegations in Paragraph 137.
  19        138. Defendants deny the allegations in Paragraph 138.
  20        139. Defendants deny the allegations in Paragraph 139.
  21        140. Defendants deny the allegations in Paragraph 140.
  22        141. Defendants deny the allegations in Paragraph 141.
  23        142. Defendants deny the allegations in Paragraph 142.
  24        143. Defendants deny Plaintiffs are entitled to the damages described in
  25 Paragraph 143.

  26        144. Defendants deny Plaintiffs are entitled to the injunctive relief described
  27 in Paragraph 144.

  28        145. Defendants deny the allegations in Paragraph 145.
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   1                                   SEVENTH CLAIM
   2                      INTENTIONAL MISREPRESENTATION
   3         146. Defendants incorporate by this reference their response to the preceding
   4 paragraphs in response to each and every Claim set forth in the SAC.

   5         147. Defendants deny the allegations in Paragraph 147.
   6         148. Defendants deny the allegations in Paragraph 148.
   7         149. Defendants deny the allegations in Paragraph 149.
   8         150. Defendants deny the allegations in Paragraph 150.
   9         151. Defendants deny the allegations in Paragraph 151.
  10         152. Defendants deny the allegations in Paragraph 152.
  11         153. Defendants deny the allegations in Paragraph 153.
  12         154. Paragraph 154 constitutes Plaintiffs’ demand for a jury trial to which no
  13 response is required.

  14                           ANSWER TO RELIEF SOUGHT
  15         Defendants deny the allegations, and deny Plaintiffs are entitled to any relief
  16 requested, in the unnumbered paragraphs enumerating Plaintiffs’ prayer for relief.

  17 Defendants further deny that this action can be maintained as a class action.

  18                              AFFIRMATIVE DEFENSES
  19         Defendants allege below their affirmative defenses. By setting forth these
  20 affirmative defenses, Defendants do not assume the burden to establish any fact or

  21 proposition necessary to these defenses where that burden is properly imposed on

  22 Plaintiff. All defenses are asserted as to Plaintiffs and, in the event their action is

  23 permitted to proceed on a class basis, as to any other member of the purported class.

  24                          FIRST AFFIRMATIVE DEFENSE
  25                                (Failure to State a Claim)
  26         Plaintiffs’ SAC fails, in whole or in part, to state a claim upon which relief
  27 can be granted.

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   1                        SECOND AFFIRMATIVE DEFENSE
   2                                  (First Amendment)
   3        Plaintiffs’ claims are barred, in whole or in part, by the First Amendment to
   4 the United States Constitution and the free speech provisions of the California

   5 Constitution.

   6                          THIRD AFFIRMATIVE DEFENSE
   7                                      (Preemption)
   8        The claims alleged in the SAC are barred, in whole or in part, by the doctrine
   9 of federal preemption.

  10                        FOURTH AFFIRMATIVE DEFENSE
  11                               (Statutory Requirements)
  12        To the extent Plaintiffs and/or putative class members seek damages and/or to
  13 certify a class action based on alleged violations of California’s Consumer Legal

  14 Remedies Act, Cal. Civ. Code §§ 1750, et seq., Plaintiffs have failed to satisfy the

  15 requirements set forth in California Civil Code sections 1781 and 1782.

  16                          FIFTH AFFIRMATIVE DEFENSE
  17                                     (Safe Harbor)
  18        The claims of Plaintiffs and/or putative class members are exempted by the
  19 safe harbor provisions of California Business and Professions Code section 17200,

  20 et seq., and 17500, et seq., and because Defendants have a complete defense under

  21 California Civil Code section 1784.

  22                          SIXTH AFFIRMATIVE DEFENSE
  23                       (Statutory and Regulatory Compliance)
  24        Plaintiffs’ claims are barred, in whole or part, by the doctrine of statutory and
  25 regulatory compliance.

  26                       SEVENTH AFFIRMATIVE DEFENSE
  27                                (Waiver and Estoppel)
  28        The claims in the SAC are barred by the doctrines of waiver and/or estoppel.
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   1                        EIGHTH AFFIRMATIVE DEFENSE
   2                                         (Laches)
   3        The claims in the SAC are barred by the doctrine of laches.
   4                         NINTH AFFIRMATIVE DEFENSE
   5                                    (Unclean Hands)
   6        The claims in the SAC are barred by the doctrine of unclean hands.
   7                         TENTH AFFIRMATIVE DEFENSE
   8                                (Statute of Limitations)
   9        The claims in the SAC are barred, in whole or in part, by the applicable
  10 statutes of limitations, including but not limited to, California Code of Civil

  11 Procedure § 339(1) (two-year statute of limitations applicable to unjust enrichment

  12 under California law), California Code of Civil Procedure §§ 338 (three year statute

  13 of limitations for fraud or mistake), California Civil Code § 1783 (three-year statute

  14 of limitations for CLRA claims), California Business & Professions Code §§ 17208

  15 (four-year statute of limitations for California Unfair Competition Law and False

  16 Advertising Law claims) and Cal. Health & Safety Code § 109875, et seq.

  17                      ELEVENTH AFFIRMATIVE DEFENSE
  18                               (Harm Caused by Others)
  19        Persons and/or entities other than Defendants caused some or all of the harm
  20 or damages alleged by Plaintiffs, to the extent there was any.

  21                       TWELFTH AFFIRMATIVE DEFENSE
  22                        (Other Factors Caused Alleged Harm)
  23        Factors other than allegedly untrue statements of material fact, omissions of
  24 material fact, misleading statements or other alleged actions by Defendants caused

  25 some or all of the harm or damages alleged by Plaintiffs, to the extent there was any.

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   1                      THIRDTEENTH AFFIRMATIVE DEFENSE
   2                              (No Injury, Harm or Damages)
   3           Defendants’ purported conduct did not cause Plaintiffs or any putative class
   4 member any damages, harm and/or injury.

   5                       FOURTEENTH AFFIRMATIVE DEFENSE
   6                                    (Failure to Mitigate)
   7           Plaintiffs and their purported class of persons are barred from claiming injury
   8 or damages, if any, because they failed to take reasonable efforts to mitigate such

   9 injury or damages, which would have prevented or reduced their injury or damages,

  10 if any.

  11                        FIFTEENTH AFFIRMATIVE DEFENSE
  12                            (Punitive Damages Barred by Law)
  13           To the extent Plaintiffs or their putative class seek punitive damages for an
  14 alleged act or omission of Defendants, any award of punitive damages is barred

  15 under the relevant state law and by state and federal constitutional principles,

  16 including but not limited to Article I, section 10, Article IV, section 2, and the First,

  17 Fifth, Sixth, Eighth and Fourteenth Amendments to the United States Constitution,

  18 and Article I, sections 7, 9, 15, and 17, and Article IV, section 16, of the California

  19 Constitution.

  20                        SIXTEENTH AFFIRMATIVE DEFENSE
  21                                (Adequate Remedy at Law)
  22           The injury or damage allegedly suffered by Plaintiffs and/or their putative
  23 class would be adequately compensated in an action at law for damages.

  24 Accordingly, Plaintiffs and their putative class have a complete and adequate

  25 remedy at law and are not entitled to seek equitable relief.

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   1                       SEVENTEENTH AFFIRMATIVE DEFENSE
   2                        (Due Process and Full Faith & Credit)
   3        To the extent Plaintiffs seek to apply California law to transactions that
   4 occurred outside of California, Plaintiffs’ claims are barred, in whole or in part, by

   5 the Due Process Clause of the 14th Amendment of the U.S Constitution and the Full

   6 Faith and Credit Clause.

   7                     EIGHTEENTH AFFIRMATIVE DEFENSE
   8                                      (Good Faith)
   9        Plaintiffs’ claims and those of the putative class members are barred, in whole
  10 or in part, because any representation or statement alleged to have been made by

  11 Defendants was made in good faith and with a reasonable belief as to its validity and

  12 accuracy, and with reasonable belief that its conduct was lawful.

  13                     NINETEENTH AFFIRMATIVE DEFENSE
  14                              (Class Action Prerequisites)
  15        Plaintiff cannot satisfy the prerequisites for class certification under Fed. R.
  16 Civ. P. 23 and, therefore, cannot represent the interests of others.

  17                      TWENTIETH AFFIRMATIVE DEFENSE
  18                        (Reasonable and Good Faith Reliance)
  19        The claims alleged in the SAC are barred, in whole or in part, because
  20 Defendants have at all times acted reasonably and in good faith in conformity with

  21 and reliance on any applicable statutory regulations, orders, rulings, approvals, and

  22 interpretations of the applicable statutory regulations.

  23                    TWENTY-FIRST AFFIRMATIVE DEFENSE
  24                             (Lack of Justifiable Reliance)
  25        Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs could not
  26 have justifiably relied on the alleged misrepresentations or omissions asserted in the

  27 SAC.

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   1                   TWENTY-SECOND AFFIRMATIVE DEFENSE
   2                          (Lack of Subject Matter Jurisdiction)
   3          Plaintiffs and members of their putative class lack standing because they have
   4 not suffered any injury-in-fact, including because they received a product consistent

   5 with the information accurately set forth on the product label. The Court, therefore,

   6 lacks subject matter jurisdiction over the claims.

   7                    TWENTY-THIRD AFFIRMATIVE DEFENSE
   8                                         (Lack of Privity)
   9          The express warranty claims of Plaintiffs and/or putative class members are
  10 barred, in whole or in part, due to the absence of privity between Defendants and

  11 Plaintiffs or putative class members.

  12                   TWENTY-FOURTH AFFIRMATIVE DEFENSE
  13                                 (Voluntary Payment Doctrine)
  14          The claims alleged in the SAC are barred by the voluntary payment rule to the
  15 extent that Plaintiffs or any member of their putative class voluntarily purchased the

  16 products without mistake of fact or fraud.

  17                              RESERVATION OF RIGHTS
  18          Defendants reserve the right to assert additional legal defenses as they
  19 become known. Defendants further specifically reserves all legal defenses that it

  20 may have against the purported class and against each member of the purported

  21 class.

  22                                 PRAYER FOR RELIEF
  23          WHEREFORE, Defendant prays that the Court determine and adjudge:
  24          1. That this suit cannot be maintained as a class action;
  25          2. That the SAC be dismissed on the merits;
  26          3. That Plaintiffs take nothing by the SAC;
  27          4. That Defendants be awarded its costs, disbursements, attorneys’ fees and
  28             expenses incurred herein; and
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   1        5. That Defendants be awarded such other and further relief as the Court may
   2            deem proper.
   3 DATED: November 21, 2023
                                                   BLAXTER | BLACKMAN LLP
   4

   5
                                           By:           /s/ Brian R. Blackman
   6                                                       BRIAN R. BLACKMAN
                                                           J.T. WELLS BLAXTER
   7                                                         DAVID P. ADAMS
                                                           Attorneys for Defendants
   8                                             WHOLE FOODS MARKET SERVICES, INC.,
                                                  WHOLE FOODS MARKET CALIFONRIA,
   9                                             INC. and MRS. GOOCH’S NATURAL FOOD
                                                              MARKETS, INC.
  10

  11                                   JURY DEMAND
  12        Defendants Whole Foods Market Services, Inc., Whole Foods Market
  13 California, Inc. and Mrs. Gooch’s Natural Food Markets, Inc. demand a trial by jury

  14 on all issues so triable.

  15 DATED: November 21, 2023
                                                   BLAXTER | BLACKMAN LLP
  16

  17
                                           By:           /s/ Brian R. Blackman
  18                                                       BRIAN R. BLACKMAN
                                                           J.T. WELLS BLAXTER
  19                                                         DAVID P. ADAMS
                                                           Attorneys for Defendants
  20                                             WHOLE FOODS MARKET SERVICES, INC.,
                                                  WHOLE FOODS MARKET CALIFONRIA,
  21                                             INC. and MRS. GOOCH’S NATURAL FOOD
                                                              MARKETS, INC.
  22

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